          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:03cr127


UNITED STATES OF AMERICA, )
                          )
             Plaintiff,   )
                          )
             vs.          )
                          )
                          )                    ORDER
JEREMIAH CHAMBERS.        )
                          )
             Defendant.   )
                          )

     THIS MATTER is before the Court on the Government’s Motion for

Extension of Time [Doc.144], filed April 14, 2008, seeking an additional

fourteen (14) days within which to respond to the Defendant’s Motion for

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) [Doc.141], filed

March 25, 2008.

     The Probation Office has filed a Supplement to the Presentence

Report pursuant to Crack Cocaine Guideline Amendment [Doc. 142], filed

April 11, 2008. The Probation Office has determined therein that this

Defendant does not appear to be eligible for imminent release. The

fourteen (14) day extension will therefore be granted.




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     IT IS THEREFORE ORDERED, that the Government’s Motion for

Extension of Time [Doc.144] is GRANTED, in that the Government is

allowed through and including April 29, 2008, within which to respond to

the Defendant’s Motion for Reduction of Sentence in this matter.

                                     Signed: April 15, 2008




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